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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 H5R, LLC,                                §
                                          §
       Plaintiff,                         §
                                          §
 V.                                       §         No. 3:23-cv-1197-K-BN
                                          §
 SCOTTSDALE INSURANCE                     §
 COMPANY a/k/a/ NATIONWIDE                §
 INSURANCE,                               §
                                          §
       Defendant.                         §

          ORDER ACCEPTING FINDINGS AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE JUDGE

      United States Magistrate Judge David L. Horan made findings, conclusions and

recommendations in this case. See Dkt. No. 65. Plaintiff filed objections, see Dkt. No. 66,

and Defendant responded, see Dkt. No. 69. The District Court has made a de novo review

of those portions of the proposed findings and recommendations to which objection was

made. The objections are overruled, and the Court accepts the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge dated January 10, 2025.

      SO ORDERED.

      Signed March 25th, 2025.


                                              _____________________________________
                                              ED KINKEADE
                                              UNITED STATES DISTRICT JUDGE



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